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      EXHIBIT 17
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                                                    Walgreen Company
                                        Performance Rating History Report
                                                                                                                  Prepared on: 4/13/17

*Disclaimer: As of December 1, Duane Reade employees are
included in the report, both union and non-union. The report
excludes any employees not on Walgreens Payroll (e.g.,
partial Take Care and all Option Care).


Employee Name                                                                               Employee Id           2534450
Ciera C Washington
                                                                                           Hire Date             9/16/2015
                                                                                      Last Date Paid             1/18/2016
                                                                                      Current Status                 T
        ,                                                                           Termination Date            02/23/2016

   Current Pos           Current LOC            Current Dist          Current/Last District Name                      Market
     STLD                  14417                    760                   Upper Manhattan                              35


   Rating                                                                        District
 Period End       Perf.Rating                                         Position   At Time
    Date          (1 --> 5 pt.      Manager            Employee        When         of         District Name At time of      Review
                    scale)         Signed Date        Signed Date      Rated     Rating                  Rating               Type
                                                                                                                               Annual


                                                    Discliplinary Review Information
                                                                                                            Disc         Disc
                          Disc                                            Manager                          Position    Location
     Disc Review         Review                                           Signed         Employee           When        When
     Rating Date         Rating          Disc Review Rating Desc           Date         Signed Date         Rated       Rated




 ERCONFIDENTIAL
   Profile 291.2 Individual Empl Rating history w-Disclipli                                                       DR 000020
                                                                                                           CONFIDENTIAL
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